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 3
   Las Vegas,Nevada 89169
 4 Telephone: 702.678.5070
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 5 jbarr@atllp.com
 6       Attorneyfor Plaintiffs
                                        UNITED STATES DISTRICT COURT
 7
                                                DISTRICT OF NEVADA
 8
                                                                    Case No.: 2:17-CV-2106-JCM(VCF)
 9       SHELDON F. GOLDBERG,an Individual,
         BARBARA A. GOLDBERG,an Individual, and
10       BENEFICIAL INNOVATIONS,INC. a Nevada                    STIPULATION AND ORDER GRANTIN
         Corporation,                                            SUBSTITUTION OF ATTORNEY
11
                                  Plaintiffs,
12
          v.
13
         JACK BARRECA,et al.,
14
                                  Defendants.
15

16

17               Subject to the approval by the Court, Plaintiff SHELDON F. GOLDBERG, substi tes

18       himself as pro se Plaintiff; in place of Jeffrey F. Barr, Esq. and ARMSTRONG TEASDALE L P;

19       and

20               Jeffrey F. Barr, Esq. of ARMSTRONG TEASDALE LLP will continue to represent Plain ffs

21       BARBARA A. GOLDBERG and BENEFICIAL INNOVATIONS,INC.

22              No delay in discovery, trial, or any hearing in this case will result in this Substitution.

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 Case 2:17-cv-02106-JCM-VCF Document 82 Filed 09/27/21 Page 2 of 3




Contact information for Sheldon F. Goldberg is as follows:

   SHELDON F. GOLDBERG
   5130 Evaline Street
   Las Vegas,Nevada 89120
   702-683-1593
   Shel@blackjacktime.com


I consent to the above substitution.
                                          SHELDON F. GOLDBER
Date:                                     Plaintiff

I consent to being substituted for
Plaintiff Sheldon F. Goldberg, only
                                                                          LLP

       O 1
Date: S(            3 2014
                                           JEFF                     ESQ.
                                           Attorneys Jo       laintiffc Barbara A. Goldberg c rid
                                           Beneficial In     vations, Inc.




                                            IT IS SO ORDERED:



                                            UNITED STATES DISTRICT JUDGE
                                                                 MAGISTRATE

                                            DATED: 9-27-2021




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                               CERTIFICATE OF SERVICE
       Pursuant to Fed.R.Civ.P.5(b), and Section IV of District of Nevada Electronic Fil
                                                                                         ng
 Procedures, I certify that I am an employee of ARMSTRONG TEASDALE LLP, and
                                                                                   that e
                                       foregoing was served:

 International Beverage LTD.   0       via the U.S. Postal Service at Las Vegas, Nevada, in a
                                       sealed envelope, with fi :t-class postage prepaid, on
 do Jack Barreca
                                       date and to the add ss s)shown below:
 6295 McLeod Drive #12
14§4046s.,hylppiciune,2021.                 /s/
                                            An em o e of Armstrong Teasdale LLP

 International Beverage Alliance LLC

(NV)
 c/o Jack Barreca
6295 McLeod Drive #12
Las Vegas,NV 89120



International Beverage Alliance LLC
(CO)

c/o Jack Barreca

6295 McLeod Drive #12

Las Vegas,NV 89120


Jack Barreca
6295 McLeod Drive #12

Las Vegas,NV 89120

Pro Se Defendant




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